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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                          )
    UNITED STATES OF AMERICA,                             )
                                                          )
                   v.                                     )
                                                          )    Criminal No. 1:21-cr-00538-JMC
    RYAN SAMSEL,                                          )
                                                          )
                   Defendant.                             )
                                                          )

                    DEFENDANT RYAN SAMSEL’S NOTICE REGARDING
                  EXHIBITS FORMALLY MOVED INTO EVIDENCE AT TRIAL

         Defendant Ryan Samsel, by and through the undersigned counsel, hereby gives notice of

the following item of evidence that was either inadvertently not moved into evidence when the

exhibit was identified and/or published during trial, or that was admitted but the record failed to

capture their admission: 1

    Exhibit No.     Description
    DS-01           GE 311 Complete.mp4

         The exhibit described above was moved into evidence during Defendant Samsel’s cross-

examination of Sargeant Tim Lively of the U.S. Capitol Police on October 25, 2023. The exhibit

includes additional video preceding government’s exhibit 311, which was moved into evidence

pursuant to Rule 106 of the Federal Rules of Evidence, or the rule of completeness. The

government was provided a copy of the edited exhibit through the shared USAFX system

provided by the government. See Email from Stanley E. Woodward, Jr. to Alexandra Foster

(Oct. 25, 2023) (“[Defense counsel] uploaded the exhibit we admitted today to USAFX. You’ll



1
  See Notice, United States v. Parker, No. 21-cr-28 (D.D.C. March 13, 2023) (ECF No. 888) (government notice to
the Court and defense counsel of exhibits the record failed to reflect had been admitted and further advising, “[t]he
government would also like to consolidate the following exhibits, which were inadvertently admitted under two
different exhibit numbers”)


                                                          1
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see that the first 10 minutes are blank – that’s to make sure that the reference to the time stamps

in the record remain accurate / consistent.”) (Attached hereto as Exhibit A). Defense counsel

received no response to this email.

       Wherefore, Mr. Samsel respectfully requests that the record reflect the admission of the

above-referenced exhibit during the government’s case at trial.




                                                 2
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Dated: November 1, 2023            Respectfully submitted,

                                   /s/ Stanley E. Woodward, Jr.
                                   Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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                                   Counsel for Defendant Ryan Samsel




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                                  CERTIFICATE OF SERVICE

        On November 1, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which automatically

sends electronic notification of such filing to all registered parties.



                                                /s/ Stanley E. Woodward, Jr.
                                                Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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